       CASE 0:16-cr-00340-MJD-BRT Doc. 635 Filed 10/25/21 Page 1 of 4




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                  Plaintiff,



v.                                   MEMORANDUM OF LAW & ORDER
                                     Criminal File No. 16-340 (MJD/BRT)



(1) HUY NGOC NGUYEN,

                  Defendant.

Chelsea A. Walcker and David J. MacLaughlin, Assistant United States
Attorneys, Counsel for Plaintiff.

Brandon Sample, Brandon Sample PLC, Counsel for Defendant.

I.    INTRODUCTION

      This matter is before the Court on Defendant Huy Ngoc Nguyen’s Motion

for Compassionate Release. [Docket No. 599]

II.   BACKGROUND

      On March 6, 2018, Defendant Huy Ngoc Nguyen pled guilty to Count 11

of the Corrected Superseding Indictment, Wire Fraud in violation of 18 U.S.C. §§

2, 1343. [Docket Nos. 253, 254] On October 11, 2018, the Court sentenced


                                       1
        CASE 0:16-cr-00340-MJD-BRT Doc. 635 Filed 10/25/21 Page 2 of 4




Defendant to a term of imprisonment of 70 months, to be followed by a term of 2

years supervised release. [Docket No. 347]

III.   DISCUSSION

       Under the First Step Act, 18 U.S.C. § 3582(c)(1)(A), the Court may, upon a

defendant’s motion following exhaustion of administrative remedies or the lapse

of 30 days from the receipt of such a request by the warden of the defendant’s

facility, whichever is earlier, “reduce the term of imprisonment (and may impose

a term of probation or supervised release with or without conditions that does

not exceed the unserved portion of the original term of imprisonment), after

considering the factors set forth in section 3553(a) to the extent that they are

applicable, if it finds that-- (i) extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”

       The applicable policy statement with respect to motions to reduce sentence

is set forth in U.S.S.G. § 1B1.13. Pursuant to this policy statement, when deciding

a motion for a sentence reduction under § 3582(c), the Court must determine

whether extraordinary and compelling reasons exist to warrant such relief,

whether the defendant is a danger to the safety of any other person or to the

community, and whether a sentence reduction is consistent with the policy
                                          2
       CASE 0:16-cr-00340-MJD-BRT Doc. 635 Filed 10/25/21 Page 3 of 4




statement. U.S.S.G. § 1B1.13. This policy statement also defines “extraordinary

and compelling reasons” due to medical condition of the defendant as follows:

      (ii) The defendant is—

             (I) suffering from a serious physical or medical condition,

             (II) suffering from a serious functional or cognitive
             impairment, or

             (III) experiencing deteriorating physical or mental health
             because of the aging process,

      that substantially diminishes the ability of the defendant to provide
      self-care within the environment of a correctional facility and from
      which he or she is not expected to recover.

U.S.S.G. § 1B1.13, cmt. 1(A).

      Defendant has exhausted administrative remedies. Therefore, the Court

addresses the merits of Defendant’s request.

      The Court finds that Defendant has failed to show “extraordinary and

compelling reasons” due to a medical condition to warrant relief. Defendant is a

healthy, slightly obese, middle-aged individual incarcerated at Federal Prison

Camp Duluth, a minimum-security camp, where there are no active COVID-19

cases among the inmates. All inmates have been offered vaccination, and 64% of




                                         3
       CASE 0:16-cr-00340-MJD-BRT Doc. 635 Filed 10/25/21 Page 4 of 4




FPC Duluth inmates are fully vaccinated against COVID-19. Defendant was

vaccinated with the Johnson & Johnson COVID-19 vaccine on April 28, 2021.

      According to prison records, Defendant gained 10 pounds to barely cross

the threshold to be categorized as obese as measured on one date – May 12, 2021

– during a prison health care appointment made by Defendant solely for the

purpose of measuring his BMI, “a common request since the guidelines of

possible high risk for covid criteria came out from the CDC.” (Def. Ex. B.)

Defendant is otherwise healthy and vaccinated. Defendant also asserts that his

parents suffer from health concerns; however, there is no evidence that

Defendant is their only available caregiver. The Court concludes that Defendant

has wholly failed to show extraordinary circumstances.




      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      Defendant Huy Ngoc Nguyen’s Motion for Compassionate Release
      [Docket No. 599] is DENIED.



Dated: October 25, 2021               s/Michael J. Davis
                                      Michael J. Davis
                                      United States District Court



                                        4
